862 F.2d 870Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Virgil JOHNSON, Jr., Petitioner-Appellant,v.J.H. GRIFFIN;  Attorney General of the State of NorthCarolina, Respondents- Appellees.
    No. 88-6767.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  Oct. 31, 1988.Decided:  Nov. 23, 1988.
    
      Virgil Johnson, Jr., appellant pro se.
      Richard Norwood League (Office of the Attorney General), for appellees.
      Before JAMES DICKSON PHILLIPS and WILKINS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Virgil Johnson, Jr., seeks to appeal the district court's order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2254.  Our review of the record and the district court's opinion accepting the recommendation of the magistrate discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.  Johnson v. Griffin, C/A No. 87-1159-HC (E.D.N.C. June 30, 1988).  We dispense with oral argument because the dispositive issues recently have been decided authoritatively.
    
    
      2
      DISMISSED.
    
    